                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )          No. 3:09-00244
                                                 )          JUDGE CAMPBELL
ROGER WAYNE BATTLE, et al.                       )


                                             ORDER

         Pending before the Court are the following motions to adopt other motions:

•        Motion to Adopt Specific Motions Filed By Co-Defendants (Docket No. 375) filed by
         Defendant Lobbins [requesting to adopt Docket Nos. 357, 360, 362, 354, 366]

•        Motion to Adopt Defendant Imes’ Motion to Sever Counts (Docket No. 359) (Docket No.
         416) by Defendant Smith

•        Motion To Adopt Defendant Green’s Motion For Pretrial Determination Of Admissibility
         Of Co-Conspirators’ Statements And Incorporated Memorandum Of Law (Docket No.
         357) (Docket No. 417) by Defendant Smith

•        Motion To Adopt Defendant Imes’ Motion To Sequester Witnesses With Incorporated
         Memorandum Of Law (Docket No. 362) (Docket No. 418) by Defendant Smith

•        Motion To Adopt Defendant Lobbins’ Motion for Notice Of Government’s Intention To
         Use Residual Hearsay Exception Under Rule 807 (Docket No. 374) (Docket No. 419) by
         Defendant Smith

•        Defendant Curtis Green’s Motion to Join Defendant Lobbins’ Motion For Notice of
         Government’s Intention To Use Residual Hearsay Exception Pursuant To Rule 807
         (Docket No. 424)

•        Defendant Curtis Green’s Motion to Join Defendant Imes’ Motion to Sequester
         Witnesses And Incorporated Memorandum Of Law (Docket No. 425)

•        Motion To Adopt Defendant Battle’s Motion for Daily Trial Transcript (Docket No. 428)
         (Docket No. 435) by Defendant Smith

                                                1




    Case 3:09-cr-00244     Document 486        Filed 01/04/11    Page 1 of 3 PageID #: 1833
•        Motion To Adopt Defendant Battle’s Motion for Jury Questionnaire (Docket No. 431)
         (Docket No. 436) by Defendant Smith

•        Motion To Adopt Defendant Battle’s Motion For Exculpatory Evidence (Docket No.
         429) (Docket No. 437) by Defendant Smith

•        Motion To Adopt Defendant Battle’s Motion to Increase Peremptory Challenges (Docket
         No. 434) (Docket No. 438) by Defendant Smith

•        Motion To Adopt Defendant Battle’s Motion For Production Of Government’s Witness
         List (Docket No. 432) (Docket No. 439) by Defendant Smith

•        Motion To Adopt Co-Defendant Battle’s Motion For Release Of Brady Materials
         (Docket No. 429) (Docket No. 440) by Defendant Imes

•        Motion To Adopt Co-Defendant Battle’s Motion To Compel Notice Of Intent To Offer
         Evidence Of Other Crimes, Wrongs Or Acts (Docket No. 430) (Docket No. 441) by
         Defendant Imes

•        Motion To Adopt Co-Defendant Battle’s Motion for Jury Questionnaire (Docket No.
         431) (Docket No. 442) by Defendant Imes

•        Motion to Adopt Co-Defendant Battle’s Motion For Court To Pay For Care Of
         Dependant Children And Family Members Of Single Parents Selected As Jurors (Docket
         No. 433) (Docket No. 443) by Defendant Imes

•        Motion to Adopt Co-Defendant Battle’s Motion to Increase Peremptory Challenges
         (Docket No. 434) (Docket No. 444) by Defendant Imes

•        Motion Adopt Co-Defendant Battle’s Motion for Daily Trial Transcript (Docket No. 428)
         (Docket No. 445) by Defendant Imes

•        Motion To Adopt Co-Defendant Battle’s Motion for Production Of Government’s
         Witness List (Docket No. 432) (Docket No. 446) by Defendant Imes


         The motions to adopt are GRANTED, provided however, that if the motion adopted is

withdrawn by the movant or becomes moot, the Defendant(s) adopting the motion shall file his

or her own motion on or before January 14, 2011, or within three calendar days from the

                                               2




    Case 3:09-cr-00244     Document 486      Filed 01/04/11     Page 2 of 3 PageID #: 1834
termination of the adopted motion, whichever is later.


       It is so ORDERED.



                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




                                                3




 Case 3:09-cr-00244       Document 486        Filed 01/04/11   Page 3 of 3 PageID #: 1835
